Case 1:17-cv-21138-CMA Document 32 Entered on FLSD Docket 06/19/2017 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                       CASE NO. 1:17-cv-21138-CIV-ALTONAGA/Goodman


  JOSE A. FERNANDEZ,

         Plaintiff,

  v.

  DIRECTV, LLC.;
  I.C. SYSTEM, INC.; and
  EQUIFAX, INC.,

        Defendants.
  _____________________________/

                              NOTICE OF PENDING SETTLEMENT

         Plaintiff, JOSE A. FERNANDEZ, by and through undersigned counsel, hereby gives

  notice of pending settlement with regard to the instant matter. The parties have reached a

  tentative settlement and are presently drafting, finalizing, and executing the formal settlement

  documents. Upon full execution of same, the parties will file the appropriate dismissal

  documents with the Court.

         Respectfully submitted this 19th day of June 2017.


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 19th day of June, 2017, that the foregoing document is

  being served this date via U.S. mail and/ or some other authorized manner for those counsel or

  parties, if any, who are not authorized to receive electronic notices.

  Service List:

  SCOTT A MARKOWITZ, ESQ.
  Florida Bar No.: 016608
  Email: smarkowitz@dldlawyers.com

  DEMAHY, LABRADOR, DRAKE,
Case 1:17-cv-21138-CMA Document 32 Entered on FLSD Docket 06/19/2017 Page 2 of 2




  VICTOR, ROJAS & CABEZA
  6400 N. Andrews Ave. Suite 500
  Fort Lauderdale, FL 33609
  Tel: 954-229-9951
  Fax: 954-229-9778
  Attorney for DIRECTV, LLC

  DALE T. GOLDEN, ESQ.
  Florida Bar No.: 0094080
  Email: dgolden@gsgfirm.com
  CHARLES J. MCHALE, ESQ.
  Florida Bar No.: 0026555
  Email: cmchale@gsgfirm.com

  GOLDEN SCAZ GAGAIN, PLLC
  201 North Armenia Avenue
  Tampa, Florida 33609-2303
  Tel: 813-251-5500
  Fax: 813-251-3675
  Attorneys for IC SYSTEM, INC.

  J. ANTHONY LOVE, ESQ.
  Florida Bar No. 67224
  Email: tlove@kslaw.com

  King & Spalding LLP
  1180 Peachtree Street
  Atlanta, Georgia 30309
  Tel: 404-215-5913
  Fax: 404-572-5100
  Attorney for EQUIFAX, INC.

                                   s/ Christopher Legg
                                   Christopher W. Legg, Esq.
                                   Florida Bar No. 44460

                                   CHRISTOPHER LEGG, P.A.
                                   3837 Hollywood Blvd. Suite B
                                   Hollywood, Florida 33021
                                   Telephone: 954-962-2333
                                   Chris@TheConsumerLawyers.Com
                                   Attorney for Plaintiff,
                                   Jose A. Fernandez




                                          2
